 Case 8:20-cv-01010-PVC Document 21 Filed 10/07/21 Page 1 of 1 Page ID #:1037




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 8
 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
     KATHERINE JENNINGS,                      )   No. SACV 20-01010 PVC
12                                            )
13           Plaintiff,                       )   ORDER AWARDING EQUAL
                                              )   ACCESS TO JUSTICE ACT
14                  v.                        )   ATTORNEY FEES AND COSTS
15                                            )
     KILOLO KIJAKAZI, Acting                  )
16
     Commissioner of Social Security,         )
17                                            )
18           Defendant.                       )
                                              )
19
             Based upon the parties’ Stipulation for Award and Payment of Attorney
20
     Fees:
21
             IT IS ORDERED that the Commissioner shall pay attorney fees and
22
     expenses the amount of FOUR THOUSAND SEVEN HUNDRED SEVEN
23
     DOLLARS ($4,700.00), and costs under 28 U.S.C. § 1920 in the amount of FOUR
24
     HUNDRED DOLLARS ($400.00), as authorized by 28 U.S.C. §§ 2412(d), 1920,
25
     subject to the terms of the above-referenced Stipulation.
26         Dated: 10/07/21
27                              _____________                  _______________
                                THE HONORABLE PEDRO V. CASTILLO
28
                                UNITED STATES MAGISTRATE JUDGE


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